Case 2:23-cr-20191-MSN Document 638 Filed 10/03/24 Page 1 of 1                 PageID 9610




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,           )
                                    )
       Plaintiff,                   )              Case No. 23-cr-20191-MSN
                                    )
      v.                            )
                                    )
TADARRIUS BEAN,                     )
DEMETRIUS HALEY, and                )
JUSTIN SMITH,                       )
                                    )
     Defendants.                    )
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       For administrative purposes, the term of service for the jurors who sat in this matter,

including alternate jurors, is hereby extended until October 3, 2025.

       IT IS SO ORDERED, this 3rd day of October, 2024.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE
